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 1 PHILLIP A. TALBERT
   Acting United States Attorney
 2 MICHAEL D. ANDERSON
   CHRISTOPHER S. HALES
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:16-CR-0038 MCE

12                                Plaintiff,

13                          v.                          PROTECTIVE ORDER

14   JAMAL SHEHADEH, ET AL.,                            COURT: Hon. Morrison C. England, Jr.

15                               Defendants.

16

17                                             PROTECTIVE ORDER

18          This matter is before the Court on the Government’s Classified Ex Parte, In Camera

19 Memorandum of Law and Motion for an Order Pursuant to Section 4 of the Classified Information

20 Procedures Act and Rule 16(d)(1) of the Federal Rules of Criminal Procedure (“Government’s
21 Motion”). By its motion, the government requested that the Court, pursuant to CIPA § 4, Fed. R. Crim.

22 P. 16(d)(1), and the applicable law: (1) conduct an ex parte, in camera review of the government’s

23 submission; (2) delete from discovery information which is not relevant and helpful to the defense or

24 cumulative of information previously provided; and (3) order that the entire text of the government’s

25 motion and all accompanying exhibits shall not be disclosed to the defense and shall be sealed and

26 preserved in the records of the Court to be made available for all future review of these proceedings.

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      PROTECTIVE ORDER                                  1
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 1          The Court has carefully considered the government’s discovery obligations, including but not

 2 limited to its obligations pursuant to Federal Rule of Criminal Procedure 16, and Brady v. Maryland,

 3 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and their progeny. Having carefully

 4 considered the government’s discovery obligations and the government’s motion, its memorandum of

 5 law in support of the motion, and the declarations and exhibits filed therewith, the Court GRANTS the

 6 Government’s Motion.

 7          The Court finds that the Government’s Motion was properly filed ex parte, in camera, for this

 8 Court’s review, pursuant to CIPA § 4 and Fed. R. Crim. P. 16(d)(1). The Court has conducted an ex

 9 parte, in camera, review of the government’s classified motion, memorandum of law, classified

10 declarations of United States government officials, and certain documents attached to the government’s

11 motion.

12          On the basis of the Court’s independent review of the information and the arguments set forth in

13 the Government’s Motion, the Court finds that the classified information referenced in the government’s

14 motion implicates the government’s national security and classified information privilege because the

15 information is properly classified, and its disclosure could cause serious damage to the national security

16 of the United States.

17          Accordingly, IT IS ORDERED that the government is authorized to withhold from discovery to

18 the defense the classified information outlined in the Government’s Motion as specified in the classified

19 order.

20          IT IS FURTHER ORDERED that the Government’s motion, memorandum of law, and all

21 accompanying declarations and exhibits, as well as the Court’s classified order, shall not be disclosed to

22 the defense, and shall be Sealed and maintained in a facility appropriate for the storage of such classified

23 information by the Classified Information Security Officer as the designee of the Clerk of Court, in

24 accordance with established security procedures, for any future review, until further order of this Court.

25          IT IS SO ORDERED.

26 DATED: October 24, 2016

27                                                   _______________________________________
                                                     MORRISON C. ENGLAND, JR.
28                                                   UNITED STATES DISTRICT JUDGE


      PROTECTIVE ORDER                                   2
